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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION


 MOHAMUD ABDI YUSUF                            CASE NO. 6:21-CV-02210 SEC P

 VERSUS                                        JUDGE ROBERT R. SUMMERHAYS

 MERRIK B. GARLAND, ET AL                      MAGISTRATE JUDGE WHITEHURST

                       REPORT AND RECOMMENDATION

       Before the Court is Respondents’ Motion To Dismiss the Petition for Writ of

 Habeas Corpus, pursuant to Federal Rule 12(b)(1), as moot. [Rec. Doc. 12] For the

 reasons set forth below, the undersigned recommends that Respondents’ Motion To

 Dismiss be granted.

       Petitioner, Mohamud Abdi Yusuf, a former detainee at the Pine Prairie ICE

 Processing Center in Pine Prairie, Louisiana, filed the instant Petition for Habeas

 Corpus under 28 U.S.C. § 2241 on August 9, 2021. Rec. Doc. No. 1. In his Petition,

 Petitioner prayed for his immediate release from DHS/ICE custody on supervisory

 release or, in the alternative, that his deportation be carried out expeditiously. Id.

 On September 16, 2021, Petitioner was removed, and as such, he is no longer in ICE

 custody. See Government Exhibit A, Declaration of Scott Ladwig, doc. 12-3, p. 1.

       The release from custody renders Yusuf’s Petition for Writ of Habeas Corpus

 moot, as petitioner has demanded only his immediate release through these

 proceedings. See Goldin v. Bartholow, 166 F.3d 710, 717 (5th Cir. 1999) (“[A] moot
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 case presents no Article III case or controversy, and a court has no constitutional

 jurisdiction to resolve the issues it presents.”).

       Based on the foregoing,

       IT IS RECOMMNEDED that the Motion To Dismiss Pursuant To Federal

 Rule 12(b)(1) filed by the Government [Rec. Doc. 12], be GRANTED, the Petition

 for Writ of Habeas Corpus be DISMISSED without prejudice and that this

 proceeding be terminated.

       Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed.R.Civ.P. 72(b),

 parties aggrieved by this recommendation have fourteen days from service of this

 report and recommendation to file specific, written objections with the Clerk of

 Court. A party may respond to another party’s objections within fourteen days after

 being served with of a copy of any objections or responses to the district judge at the

 time of filing.

       Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in the report and recommendation within

 fourteen days following the date of its service, or within the time frame authorized

 by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either the factual

 findings or the legal conclusions accepted by the district court, except upon grounds

 of plain error. See Douglass v. United Services Automobile Association, 79 F.3d

 1415 (5th Cir.1996).

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       THUS DONE in Chambers on this 11th day of February, 2022.




                                               Carol B. Whitehurst
                                          United States Magistrate Judge




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